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                         EXHIBIT 3
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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                             CIVIL MINUTES - GENERAL
    Case No.          SA CV 18-02001-JVS (JDEx)                                             Date     December 20, 2021
    Title             Masimo Corp., et al v True Wearables, Inc., et al



    Present: The Honorable          James V. Selna, U.S. District Court Judge
                        Deborah Lewman for
                        Lisa Bredhal-Armijo                                              Sharon Seffens
                            Deputy Clerk                                                 Court Reporter
                   Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                             Joseph Re                                                   Peter Gergely
                           Stephen Jensen                                                Ryan Fletcher
    Proceedings:           PRETRIAL CONFERENCE (HELD VIA ZOOM)

           For the reasons stated on the record, the Jury Trial will now proceed as a Bench Trial. Bench
   Trial set for March 15, 2022 at 8:30 a.m.

            The Court will enforce the Protective Order during the Bench Trial.




                                                                                                             :    38

                                                                  Initials of Preparer         djl




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                                                                                                                 Exhibit 3
                                                                                                                     -27 -
